          Case 1:20-cv-02511-ALC Document 28 Filed 11/09/20 Page 1 of 1



                                                                                     11/09/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KAREEM NISBETT, individually and on
 behalf of all other persons similarly situated,

                                 Plaintiff,
                                                             1:20-cv-02511 (ALC)
                     -against-
                                                             ORDER
 SS IP HOLDINGS, LLC, d/b/a Slate & Stone,
 ET AL.,

                                 Defendants.

ANDREW L. CARTER, JR., United States District Judge:

       The Court is in receipt of Defendant Branded Apparel Group LLC’s notice that it has

filed for bankruptcy pursuant to Chapter 11 of the United States Bankruptcy Code on October

29, 2020. ECF No. 26. Defendant states that 11 U.S.C. § 362 requires an automatic stay of the

above captioned-matter and all pending motions. Plaintiff is directed to file a statement on or

before November 16, 2020 regarding their position on the applicability of the automatic stay

under 11 U.S.C. § 362.

SO ORDERED.

Dated: November 9, 2020
       New York, New York
                                               ___________________________________
                                                     ANDREW L. CARTER, JR.
                                                     United States District Judge
